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                                    UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON



CONSTANCE GEORGE,                                                  Case No. 3:15-cv-01277-SB

                       Plaintiff,                                  PLAINTIFF’S LAY WITNESS LIST

           v.

HOUSE OF HOPE RECOVERY;
BRIDGES TO CHANGE, INC.;
WASHINGTON COUNTY
DEPARTMENT OF HOUSING
SERVICES, and PATRICIA BARCROFT,

                       Defendants.




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                                      MILLER NASH GRAHAM & DUNN LLP
4833-3248-6236.5                                    AT T OR NE YS AT LAW
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                   In accordance with this Court's Civil Trial Management Order (ECF 90) dated

November 30, 2017, plaintiff, Constance George, identifies the following individuals as

witnesses that she may call at trial:

                                             WITNESSES

1.         Name:                 Constance George
           Address:              16865 N.W. Avondale Drive,
                                 Beaverton, Oregon 97006
           Occupation:           Not currently employed
           Estimated Time:       2-3 hours
           Subject Matter of Testimony:
                   Ms. George will testify about how she came to live at House of Hope. Ms.

George will testify that defendants terminated her tenancy after she made complaints about

defendants' race-related comment and defendants' policies that required her to attend religious

meetings, among other issues. Ms. George will testify that she was evicted after requesting to be

excused from one of defendants' meetings because she, an African-American, felt ill, while a

similarly situated white resident was both excused from the meeting and not evicted. Ms.

George will testify about her work history, and the economic and noneconomic damages she

suffered because of defendants' discriminatory actions.


2.         Name:                 Sharon Davis
           Address:              Unknown
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Ms. Davis will testify that she was Ms. George's roommate at House of Hope.

Ms. Davis will testify that she was excused from attending the 12-step meeting when she called

in sick on March 19, the same day that Ms. George was evicted. Ms. Davis will testify that her

illness was not called into question and that she was not evicted.

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3.         Name:                 Kelsey Richardson
           Address:              Unknown
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Ms. Richardson will testify that she was the senior resident at House of Hope

during Ms. George's tenancy. Ms. Richardson will testify that Ms. George was evicted by

defendants for not attending a meeting because of illness while a similarly situated white resident

was both excused and not evicted. Ms. Richardson will testify that she witnessed the interaction
between defendants and Ms. George when she was told to leave. Ms. Richardson will testify that

she told Ms. George's fiancé, James Matthews, that she didn't think it was right that Ms. George

was being evicted.

4.         Name:                 Nancy Ferry
           Address:              Unknown
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Ms. Ferry will testify that she told Ms. George that she would not have to attend

any religious meetings at House of Hope. Ms. Ferry will testify about conversations she had

with Ms. George on March 13, 2013, in which Ms. George complained about (1) Ms. Barcroft's

statements about race; (2) the lack of essential supplies in the house (e.g., toilet paper); (3) the

requirement to attend defendants' religious meetings; and (4) being confined to the property for
two weeks and the resulting difficulties in being able to actively seek employment. Ms. Ferry

will testify about the conversation she had on March 19, 2013, with defendants, Autumn Ray and

Ms. George regarding her complaints and the agreed-upon resolution of that discussion.

Ms. Ferry will testify regarding conversations she had with Ms. George after her eviction

regarding finding alternative housing.

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5.         Name:                 Patricia Barcroft
           Address:              3056 N.W. 160th Court
                                 Beaverton, Oregon 97006
           Occupation:           House of Hope Director
           Estimated Time:       2 hour
           Subject Matter of Testimony:
                   Ms. Barcroft will testify that she is the director of House of Hope Recovery in

2013. Ms. Barcroft will testify that Ms. Ferry set up an interview for Ms. George with Ms.

Barcroft on March 5, 2013; Ms. Barcroft will testify about that interview. Ms. Barcroft will

testify that Ms. George moved into House of Hope on March 10, 2013. Ms. Barcroft will testify

about Ms. George's compliance with House of Hope policies. Ms. Barcroft will testify about the
conversation with Ms. Ferry, Ms. George, and Ms. Ray during the March 19, 2013, meeting

about Ms. George's complaints and the agreed upon resolution of that meeting. Ms. Barcroft will

testify that Ms. George asked to be excused from the 12-step meeting on March 19, 2013,

because Ms. George was feeling ill and that she was not excused. Ms. Barcroft will testify that

she confronted Ms. George on March 19, 2013 and notified Ms. George that she was to be

evicted from her residence.

6.         Name:                 Autumn Ray
           Address:              3056 N.W. 160th Court
                                 Beaverton, Oregon 97006
           Occupation:           Employee at House of Hope
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Ms. Ray will testify that she was an employee of defendants during Ms. George's

tenancy with defendants. Ms. Ray will testify that she was sick during much of the time of Ms.

George's tenancy. Ms. Ray will testify about providing Ms. George with a copy of House of

Hope's policies and her instructions to Ms. George. Ms. Ray will testify about Ms. George's

compliance with House of Hope policies. Ms. Ray will testify that she was present at the March

19, 2013, morning meeting with defendants, Ms. Ferry, and Ms. George, and about the

complaints Ms. George had raised to Ms. Ferry before that meeting and the agreed upon


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resolution of that discussion. She will testify that Ms. George called her in the afternoon of

March 19, 2013, asking to be excused from the 12-step meeting because she was feeling ill and

that Ms. George was not excused. Ms. Ray will testify that she received a similar call from Ms.

Davis and that Ms. Davis was excused.


7.         Name:                 James Matthews
           Address:              2131 Quince Street, Apt. 1
                                 Forest Grove, Oregon, 97116
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Mr. Matthews will testify that he is Ms. George's former fiancé, that he was

engaged to her during her tenancy with defendants, and that he lived with her after her tenancy

with defendants. Mr. Matthews will testify about Ms. George's mental state before her tenancy

with defendants. Mr. Matthews will testify that he picked up Ms. George on the day she was

evicted by defendants. Mr. Matthews will testify about Ms. George's mental state after being

evicted by defendants, and state that it was one of the reasons for their breakup. Mr. Matthews

will testify to Ms. George's attempts to find employment before and after her eviction.

8.         Name:                 DeShawn George
           Address:              16865 N.W. Avondale Drive,
                                 Beaverton, Oregon 97006
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Mr. George will testify that he is Ms. George's son and that she lived with him

before and after her tenancy with defendants. Mr. George will testify about Ms. George's mental

state before her tenancy with defendants compared to her mental state after being evicted by

defendants. Mr. George will testify to Ms. George's attempts to find employment before and

after her eviction, and about her economic and noneconomic damages.


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9.         Name:                 Sally Wentz
           Address:              Unknown
           Occupation:           Unknown
           Estimated Time:       1 hour
           Subject Matter of Testimony:
                   Ms. Wentz will testify about Ms. George's therapy sessions after she was evicted

by defendants. Ms. Wentz will testify about the Sequoia Medical Health Records.

                   Ms. George reserves the right to call other witnesses if relevant to testimony or

evidence offered by defendants during their case.

DATED: February 28, 2018.                         MILLER NASH GRAHAM & DUNN LLP



                                                  s/ Elisa J. Dozono
                                                  Elisa J. Dozono, OSB No. 063150
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                                                  Attorneys for Plaintiff




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                                     CERTIFICATE OF SERVICE

                   I hereby certify that I served the foregoing plaintiff's lay witness list on:

                   Ms. Rebecca Cambreleng
                   Cambreleng Law, LLC
                   806 S.W. Broadway, Suite 1200
                   Portland, Oregon 97205

                   Attorney for Defendants House of Hope Recovery
                   and Patricia Barcroft

by the following indicated method or methods on the date set forth below:


                 CM/ECF system transmission.

                 E-mail. (Courtesy copy.)

                  E-mail. As required by Local Rule 5-11, any interrogatories, requests for
                   production, or requests for admission were e-mailed in Word or WordPerfect
                   format, not in PDF, unless otherwise agreed to by the parties.

                 First-class mail, postage prepaid.

                 Hand-delivery.

                 Overnight courier, delivery prepaid.


                   DATED: February 28, 2018.


                                                       s/ Elisa J. Dozono
                                                       Elisa J. Dozono, OSB No. 063150

                                                       Of Attorneys for Plaintiff




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